                 IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

 ANGELA UPCHURCH and                              )
 ROBERT UPCHURCH,                                 )
                                                  )
        Plaintiffs,                               )      Docket No.: 3:22-CV-00431
                                                  )
 v.                                               )      JURY DEMAND
                                                  )
 JADEN WOODS HORN and                             )
 TENNESSEE VALLEY AUTHORITY,                      )
                                                  )
        Defendants.                               )


                               NOTICE OF APPEARANCE


        Comes now Austin C. Evans of Adams and Reese LLP and files this Notice of

 Appearance, without waiving any substantive or procedural rights, to notify the Court and

 other counsel of record that he will appear as counsel in this matter on behalf of Defendant

 Jaden Woods Horn.

        Dated this 16th day of August, 2023.

                                                  Respectfully submitted,

                                                  /s/ Austin C. Evans
                                                  F. Laurens Brock (BPR No. 17666)
                                                  Austin C. Evans (BPR No. 036000)
                                                  Adams and Reese LLP
                                                  1600 West End Avenue, Suite 1400
                                                  Nashville, Tennessee 37203
                                                  Tel: (615) 259-1028
                                                  Fax: (615) 259-1470
                                                  larry.brock@arlaw.com
                                                  austin.evans@arlaw.com

                                                  Counsel for Defendant
                                                  Jaden Woods Horn




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of the foregoing pleading

 upon the following individual(s) via ECF Notification, correctly addressed as follows:

       John E. Pevy (BPR # 034390)
       TV General Counsel’s Office
       400 West Summit Hill Drive
       Knoxville, TN 37902-1401
       Telephone: (865) 632-7343

       Attorney for Tennessee Valley Authority

       Nathan E. Evans (BPR # 024412)
       Wettermark & Keith, LLC
       1232 Premier Dr., Ste 325
       Chattanooga, Tennessee 37421
       Telephone: (423) 558-0622
       Email: nevans@wkfirm.com

       Attorney for Plaintiff



 This 16th day of August, 2023:

                                                          /s/ Austin C. Evans
                                                          Austin C. Evans




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